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IN THE UNITED sTATES DISTRICT COURT F"-ED 5~`“'"§'" D‘C'
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUH 16 PH 6= 140
T 8
UNITED sTATEs oF AMERICA, VjD' §§ m tim-ims

VS. NO. O3~20350-Ma
SYLVESTER BUTLER,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the Court is the defendant's June 15, 2005, motion to
reset the sentencing of Sylvester Butler, Which is presently set
for June 22, 2005. For good cause shown, the motion is granted.

The sentencing of defendant Sylvester Butler is reset to

Thursday, August 18, 2005, at 9:30 a.m.

J¢QVL

day of June, 2005.

JA(//“Li,_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is SO ORDERED this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:03-CR-20350 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

